Case 1:24-cr-00047-JJM-LDA       Document 23      Filed 02/21/25     Page 1 of 2 PageID #: 63

                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

   UNITED STATES OF AMERICA
   Plaintiff,
   v.                                               Case No.: 1:24−cr−00047−JJM−LDA

   Sean Hitchcock
   Defendant.


                       TRANSCRIPT ORDER ACKNOWLEDGMENT

          A transcript order form was received by the U.S. District Court for the District of
   Rhode Island and has been forwarded to the below court reporter for completion:
                                  Denise Webb, Court Reporter
                                        U.S. District Court
                                 for the District of Rhode Island
                                      One Exchange Terrace
                                      Providence, RI 02903
                                         (401)−752−7045
                                 Denise_Webb@rid.uscourts.gov

             The transcript is tentatively due to be filed with the Court on February 24, 2025.
    It is the responsibility of the ordering party to contact the above court reporter
   immediately to make satisfactory financial arrangements. The court reporter will
   provide an estimate of costs and information on where to send payment. Transcript
   preparation and delivery times begin once payment arrangements have been made with the
   court reporter. This may not occur until a deposit is received.

           The ordering party is reminded that transcript orders requesting anything other
   than 'Ordinary' delivery, is not sufficient to guarantee faster processing. The ordering
   party must contact the court reporter to determine whether accelerated processing is
   available.
           Copies of transcripts will be provided to the ordering party by email or U.S. Mail
   based on the arrangement made with the court reporter. The official transcript will also be
   electronically filed on the case docket in CM/ECF, and will be viewable at the public
   terminal in the Clerk's Office and remotely via PACER by the ordering party only for 90
   days after a transcript is filed.

           Parties must understand their responsibility to request redaction of personal
   identifying information from transcripts that will be filed and made available to the public
   through the Court's CM/ECF system. For guidance on the judiciary's redaction policy,
   please review the information available by clicking here.
            Parties or attorneys wishing to redact personal identifiers from a transcript must
   file a Redaction Request Form within 21 days of the filing of the transcript. The
   responsibility for redacting personal identifiers rests solely with counsel and the parties.
Case 1:24-cr-00047-JJM-LDA       Document 23      Filed 02/21/25    Page 2 of 2 PageID #: 64


            If a Redaction Request is filed, the Redacted Transcript is due 31 calendar days
   from the date of filing of the original transcript. Unless extended by court order, Redacted
   Transcripts are not made public until the end of the 90−day restriction period. If no
   Redaction Request is filed, the Court will remove the electronic restriction to the transcript
   at the end of the 90−day restriction period.
           If you wish to inquire about the status of your transcript, please contact the court
   reporter directly or the court reporter supervisor at the direct extension listed below.


   February 21, 2025                              Hanorah Tyer−Witek, Clerk of Court


   U.S. District Court
   for the District of Rhode Island
   One Exchange Terrace
   Providence, RI 02903
   Court Reporter Supervisor: Jennifer Dias (401) 752−7223
